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                     BEFORE THE UNITED STATES JUDICIAL PANEL ON
                             MULTIDISTRICT LITIGATION

IN RE: PROFEMUR HIP IMPLANT
PRODUCT LIABILITY LITIGATION                               MDL No.: 2949


                         Defendants.

                             Errata Schedule B—Schedule of Actions

     1. Casey v. Wright Medical Technology, Inc., 2:19-cv-05360 (D. Arizona)

     2. Simpson v. Wright Medical Technology, Inc., 5:17-cv-00062 (E.D. Arkansas)

     3. Musticchi v. Wright Medical Technology, Inc., 4:19-cv-00607 (E.D. Arkansas)

     4. Burkhart v. Wright Medical Technology, Inc., et al., 2:17-cv-08561 (C.D. California)

     5. Bodily v. Wright Medical Technology, Inc., et al., 5:18-cv-02244 (C.D. California)

     6. Buchanan v. Wright Medical Technology, Inc., 2:19-cv-04824 (C.D. California)

     7. Cole v. Wright Medical Technology, Inc., 2:20-cv-03993 (C.D. California)

     8. Baker v. Wright Medical Technology, Inc., 2:20-cv-00823 (E.D. California)

     9. Hofer v. Wright Medical Technology, Inc., 3:18-cv-1991 (S.D. California)

     10. Sivilli v. Wright Medical Technology, Inc., et al., 3:18-cv-02162 (S.D. California)

     11. Marshall v. Wright Medical Technology, Inc., 1:19-cv-01883 (D. Colorado)

     12. Stouffer v. Wright Medical Technology, Inc., 3:19-cv-03818 (N.D. Florida)

     13. Sharif, et al. v. Wright Medical Technology, Inc., 1:20-cv-01300 (N.D. Georgia)

     14. Evans v. Wright Medical Technology, Inc., 3:19-cv-00160 (N.D. Indiana)

     15. Dumler v. Wright Medical Technology, Inc., 6:17-cv-02033 (N.D. Iowa)

     16. Hill v. Wright Medical Technology, Inc., 6:20-cv-02032 (N.D. Iowa)

     17. Burdolski v. Wright Medical Technology, Inc., 2:20-cv-02116 (D. Kansas)

     18. Kief v. Wright Medical Technology, Inc., 1:18-cv-00035 (D. Maine)

     19. Williams v. Wright Medical Technology, Inc., 1:20-cv-00578 (D. Maryland)



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     20. Garfield v. Wright Medical Technology, Inc., 1:18-cv-011872 (D. Massachusetts)

     21. McDonald v. Wright Medical Technology, Inc., 1:18-cv-12570 (D. Massachusetts)

     22. Jurczyk v. Wright Medical Technology, Inc., 4:19-cv-40126 (D. Massachusetts)

     23. Matuszko v. Wright Medical Technology, Inc., 3:20-cv-10200 (D. Massachusetts)

     24. Bradley v. Wright Medical Technology, Inc., 1:20-cv-10215 (D. Massachusetts)

     25. Monson v. Wright Medical Technology, Inc., 0:18-cv-01282 (D. Minnesota)

     26. Gale, et al. v. Wright Medical Technology, Inc., 0:20-cv-01009 (D. Minnesota)

     27. Matosich v. Wright Medical Technology, Inc., et al, 9:19-cv-00016 (D. Montana)

     28. Lopez v. Wright Medical Technology, Inc., 1:19-cv-12583 (D. New Jersey)

     29. Safir v. Wright Medical Technology, Inc., 1:18-cv-10742 (S.D. New York)

     30. Haskell v. Wright Medical Technology, Inc., 3:19-cv-01563 (D. Oregon)

     31. Harris v. Wright Medical Technology, Inc., 2:19-cv-00280 (W.D. Pennsylvania)

     32. Miles v. Wright Medical Technology, Inc., 4:20-cv-00941 (D. South Carolina)

     33. Bradshaw v. Wright Medical Technology, Inc., 1:16-cv-00108 (D. Utah)

     34. Burningham v. Wright Medical Technology, Inc., et al., 2:17-cv-00092 (D. Utah)

     35. Smolka v. Wright Medical Technology, Inc., 2:19-cv-00263 (D. Utah)

     36. Layton v. Wright Medical Technology, Inc., 1:20-cv-00083 (N.D. West Virginia)

     37. Ridolfi v. Wright Medical Technology, Inc., 2:20-cv-00680 (E.D. Wisconsin)

     38. Tzakis v. Wright Medical Technology, Inc., 3:19-cv-00545 (W.D. Wisconsin)

     39. Chadderdon v. Wright Medical Technology, Inc., et al., 3:19-cv-00787 (W.D. Wisconsin)

     40. Larson v. Wright Medical Technology, Inc., 3:20-cv-00261 (W.D. Wisconsin)

     41. Craugh, et al. v. Wright Medical Technology, Inc., 3:20-cv-00270 (W.D. Wisconsin)

     42. Gormley, et al. v. Wright Medical Technology, Inc., 0:20-cv-01290 (D. Minnesota)

     43. Mahan v. Wright Medical Technology, Inc., 1:20-cv-00482 (M.D. North Carolina)

     44. Groenendyk v. Wright Medical Technology, Inc., 5:20-cv-01097 (C.D. California)


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     45. Sinskey v. Wright Medical Technology, Inc., 2:20-cv-04749 (C.D. California)

     46. Schulzetenberg v. Wright Medical Technology, Inc., 0:20-cv-01310 (D. Minnesota)

     47. Dobbs v. Wright Medical Technology, Inc., et al., 2:20-cv-02394 (W.D. Tennessee)1

     48. Morgan v. Wright Medical Technology, Inc., et al., 3:20-cv-05519 (N.D. Florida)

     49. Shubin v. Wright Medical Technology, Inc., et al., 3:20-cv-08134 (D. Arizona)




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          Matter Nos. 47-49 were included in a Notice of Related Action filed on behalf of the respective plaintiffs
on June 26, 2020. See Dkt. #81. They are listed here in the event these cases are included in argument on the
pending Motion for Transfer.


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